       Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 1 of 47




                                                          The Honorable Marsha J. Pechman
 1
                                                               Trial Date: October 27, 2014
 2

 3

 4

 5

 6

 7
                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WASHINGTON
 8                               AT SEATTLE
 9   DEBI HUMANN,
10
                                                     CASE NO.: 2:13-cv-00101-MJP
                           Plaintiff,
11                                                   PROPOSED PRETRIAL ORDER
            vs.
12

13   CITY OF EDMONDS, a municipal
     corporation; and MICHAEAL COOPER,
14   in his individual and official capacities,
15
                           Defendants.
16
                                        I.      JURISDICTION
17
           The Court has jurisdiction over Ms. Humann’s federal claims under 28 U.S.C § 1331
18
     and 28 U.S.C. § 1343(a). The Court has supplemental jurisdiction over Ms. Humann’s state
19
     law claims under 28 U.S.C. § 1367(a).
20
                                II.          CLAIMS AND DEFENSES
21
           Ms. Humann claims that the City of Edmonds wrongfully terminated her in violation
22
     of Washington public policy when Mayor Cooper terminated her in September 2011 and
23
     when Mayor Earling laid her off in December 2011. She is pursuing First Amendment
24
     retaliation claims against the City based on the City Council’s decision to eliminate funding
25
     for the Human Resources Director position in November 2011 and for Mayor Earling’s
26

27
     decision to lay her off in December 2011. Ms. Humann also claims that defendant Micheal

28



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       Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 2 of 47




 1   Cooper and the City of Edmonds deprived her liberty interest without Fourteenth
 2   Amendment due process and defamed her. Defendants deny all claims.
 3                                    III.     ADMITTED FACTS
 4
           The following facts are admitted by the parties:
 5
           1.      Plaintiff Debi Humann worked at the City of Edmonds for 12 years. She
 6
     spent 11 of those years working in the Human Resources Department.
 7
           2.      Ms. Humann was promoted to Human Resources Manager in 2004 by former
 8
     Mayor Gary Haakenson. Ms. Humann was promoted to Human Resources Director in July
 9
     2008 by former Mayor Haakenson.
10
           3.      The Human Resources Director at the City of Edmonds is an at-will position.
11
           4.      Human Resources Analyst Mary Ann Hardie reported to Ms. Humann. Ms.
12
     Hardie and Ms. Humann were the only two employees in the Human Resource Department
13
     during the times at issue in this case.
14

15
           5.      In July 2010, the Edmonds City Council appointed Defendant Micheal Cooper

16   to complete the term of the prior mayor, Gary Haakenson.

17         6.      In August 2010, Mayor Cooper hired Kimberly Cole as his Executive

18   Assistant.

19         7.      Mayor Cooper was Ms. Cole’s direct supervisor. He approved her exception
20   time sheet reports.
21         8.      The Mayor’s Executive Assistant is an “exempt” position which is paid by
22   salary, not by an hourly wage.
23
           9.      When Ms. Humann informed Mayor Cooper in September 2011 that the State
24
     Auditor’s office had requested records relating to Cole’s attendance and exception time
25
     sheets, Cooper instructed her to cooperate with the Auditor’s office.
26
           10.     On September 22, 2011, Mayor Cooper discharged Ms. Humann from
27
     employment.
28



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 1          11.       Mayor Cooper announced his decision to terminate Ms. Humann in a
 2   statement that was sent to the City Council, all City Directors, and local press. Mayor
 3   Cooper stated:
 4                    I am sending this email to inform you that Debi Humann is
                      [no] longer employed by the City. This is not a decision that
 5
                      came lightly but a change was needed. The city’s ability to
 6                    function relies on a relationship between the Mayor and staff
                      that is based on the highest level of trust and confidentiality.
 7                    That level of trust has deteriorated to a place where I no
 8
                      longer had confidence in her ability to do the job and to work
                      effectively with me. In order to have the public trust the city
 9                    needs a committed staff that maintains that highest level of
                      trust with the mayor and council.
10
            12.   On September 22, 2011, Mayor Cooper appointed Parks Recreation and
11
     Community Services Director Carrie Hite to take on additional duties as of Interim Human
12
     Resources Director.
13
            13.   Following Ms. Humann’s termination, Mayor Cooper appointed Human
14

15
     Resource Analyst Mary Ann Hardie to Acting Human Resources Manager.

16          14.   On October 12, 2011, Ms. Humann filed a complaint with the City challenging

17   her termination pursuant to City of Edmonds Personnel Policy 10.3 and the Local

18   Government Employee Whistleblower Protection Act, RCW 42.41.050. Ms. Humann’s

19   complaint sought reinstatement to her position as Human Resources Director, full back pay
20   and benefits, and attorney’s fees and costs
21          15.   On October 13, Ms. Humann’s attorney, Cliff Freed, issued a press release
22   regarding the complaint. In addition, Ms. Humann made statements to the press in which
23
     she asserted that she was fired for whistleblowing activity.
24
            16.   David Earling defeated Mayor Cooper in the November 6 election.
25
            17.   As Mayor, Cooper and his administrative staff created and proposed a budget
26
     for 2012. Cooper’s proposed 2012 budget contained no proposal to eliminate the Human
27
     Resources Director position, nor to eliminate funding for this position.
28
            18.   November 22, 2011, was Mayor Cooper’s last City Council meeting in office.

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 1           19.    On November 22, 2011 the City Council voted to amend the proposed 2012
 2   budget by eliminating funding for the vacant Human Resources Director position, effective
 3   January 1, 2012. The Council passed Ordinance No. 3861 adopting the 2012 budget with
 4
     the amendment.
 5
             20.    Mayor Earling was sworn into office on November 29, 2011.
 6
             21.    On December 13, 2011, Mayor Earling announced he had decided to reinstate
 7
     Ms. Humann to her position as Human Resources Director and lay her off on December 31,
 8
     2011.
 9
             22.    Mayor Earling reinstated Ms. Humann as Human Resources Director for two
10
     weeks from December 15 to December 31.
11
           On December 31, 2011, the City of Edmonds laid off Ms. Humann. IV.                THE CITY
12
                           OF EDMONDS’ AFFIRMATIVE DEFENSES
13
             1.    Failure to Mitigate Damages: Plaintiff failed to mitigate damages by declining
14

15
     job offers made to her.

16           2.     Legislative Immunity/Deliberative Process privilege:          The City cannot be

17   liable for legislative decisions made by the City Council, nor can local legislators be

18   questioned about their individual motives for voting on proposed legislation.

19           3.     Absolute/Qualified Privilege (defamation): Statements made by Mayor
20   Cooper in his official capacity regarding City matters are privileged and therefore not
21   actionable in defamation.
22           4.     Collateral Estoppel: Plaintiff should be estopped from seeking backpay that
23
     she has already recovered for the period of September – December of 2011.
24
             5.     Accord & Satisfaction: The City has previously satisfied Plaintiff’s claim for
25
     backpay for September – December of 2011.
26
                   V.   DEFENDANT COOPER’S AFFIRMATIVE DEFENSES
27
             1.     Defendant Cooper is entitled to qualified and absolute immunity.
28
             2.     Defendant Cooper’s statements relating to Plaintiff were true, opinion, not

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 1   provably false, fair comment, protected speech, privileged and not defamatory.
 2          3.       Plaintiff’s claim for back pay and other damages which resulted from
 3   Defendant Cooper’s decision to discharge her from employment are barred by the doctrines
 4
     of res judicata, collateral estoppel, issue preclusion and/or claim preclusion.
 5
            4.       There has been an accord and satisfaction as to Plaintiff’s claim for back pay
 6
     and other damages which resulted from Defendant Cooper’s decision to discharge her from
 7
     employment.
 8
            5.       Plaintiff has failed to mitigate damages.
 9
            6.       In the event there is a judgment entered against Defendant Cooper, he is
10
     entitled to an offset for advance payments made by or on behalf of the defendants, including
11
     the sums paid as a result of the settlement of Plaintiff’s administrative claim for back pay
12
     and other damages.
13
                                VI.   STIPULATED ISSUES OF LAW
14

15
            1.       As Mayor, Defendant Cooper had final policy making authority from the City

16   of Edmonds regarding issues of employment.

17          2.      Defendant Cooper was acting as the final policy maker for the City of Edmonds

18   when he terminated Ms. Humann and when he made a public statement about her

19   termination.
20          3.       Defendant Cooper was acting within the scope of his authority as Mayor of
21   the City of Edmonds when he made a public statement about Ms. Humann’s termination.
22          4.       Mayor Earling had final policy making authority from the City of Edmonds
23
     regarding issues of employment.
24
            5.      Mayor Earling was acting as the final policy maker for the City of Edmonds
25
     when he decided to reinstate and layoff Ms. Humann.
26
            6.       Mayor Earling was acting within the scope of his authority as Mayor of the
27
     City of Edmonds when he decided to reinstate and layoff Ms. Humann.
28



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 1          7.    Ms. Humann accepted an offer of judgment from the City of Edmonds
 2   regarding her claim for back pay and benefits from the date of her September 22, 2011
 3   termination until her December 15, 2011 reinstatement. Humann received $33,000.00 for her
 4
     back pay and benefits, plus $5,500.00 in pre-judgment interest, $48,533.80 in attorneys’ fees,
 5
     and $3,223.40 in costs.
 6
                                VII. PLAINTIFF’S ISSUES OF LAW
 7
            The following are the issues of law remaining to be determined by the Court:
 8
            1.        At the close of evidence Ms. Humann intends to move under Rule 50 for a
 9
     ruling that, even if accepted as true, the City’s asserted reasons for terminating and laying
10
     off Ms. Humann cannot, as a matter of law, be an overriding justification that outweighs
11
     Washington public policy.
12
            2.        Whether Ms. Humann should be permitted to call an adverse witness, use
13
     leading questions, and limit the testimony of that witness to the scope of Plaintiff’s direct
14

15
     examination.

16          Plaintiff reserves the right to supplement this section if significant legal issues remain

17   that should be addressed by the Court.

18            VIII.            DEFENDANT CITY OF EDMONDS’ ISSUES OF LAW

19           Defendant City of Edmonds agrees many of the issues of law that would arise at trial
20   will likely be addressed in the court’s ruling on the motions for summary judgment and in
21   relation to proposed jury instructions. In addition, the court may need to decide:
22          1.        Whether Plaintiff is estopped form pursuing back pay for the period
23
     September – December of 2011, given her acceptance of a prior offer of judgment that
24
     compensated her for that period. This issue/evidence should not go to the jury, but should be
25
     decided by the court.
26
            2.        Whether Plaintiff should be barred from seeking front pay beyond December
27
     31, 2011 in light of the fact that the position of Human Resources Director was not included
28
     in the 2012 budget legislatively adopted by the Edmonds City Council.

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 1          3.     Whether Plaintiff should be barred from seeking reinstatement in light of the
 2   fact that the position of Human Resources Director was not included in the 2012 budget
 3   legislatively adopted by the Edmonds City Council and she is afforded an adequate remedy at
 4
     law.
 5
            Defendant reserves the right to supplement this section if significant legal issues
 6
     remain that should be addressed by the court.
 7
                       IX.     DEFENDANT COOPER’S ISSUES OF LAW
 8
            1.     Whether Defendant Cooper is entitled to absolute and/or qualified immunity.
 9
            2.     Whether Defendant Cooper’s statements relating to Plaintiff were opinion, not
10
     provably false, fair comment, protected speech, privileged and/or not defamatory.
11
            3.     Whether Plaintiff’s claim for back pay and other damages which resulted from
12
     Defendant Cooper’s decision to discharge her from employment are barred by the doctrines
13
     of res judicata, collateral estoppel, issue preclusion and/or claim preclusion.
14

15
            4.     Whether there has been an accord and satisfaction as to Plaintiff’s claim for

16   back pay and other damages which resulted from Defendant Cooper’s decision to discharge

17   her from employment.

18          5.     Whether, in the event there is a judgment entered against Defendant Cooper,

19   he is entitled to an offset for advance payments made by or on behalf of the defendants,
20   including the sums paid as a result of the settlement of Plaintiff’s administrative claim for
21   back pay and other damages.
22          6.     Whether Plaintiff should be barred from calling Nancy Bartley as a witness
23
     because plaintiff never disclosed this person as a possible witness in initial disclosures,
24
     during discovery or in her pretrial statement.
25
                                 X.      EXPERT WITNESSES
26
            The names and addresses of the expert witnesses to be used by each party at trial and
27
     the issue upon which each will testify is:
28



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     A.       On behalf of plaintiff:
 1

 2            1.     Robert T. Patton, Ph.D.                                Will Testify
                     1100 Chuckanut Crest Lane
 3                   Bellingham, WA 98229
 4            Dr. Patton will testify regarding Ms. Humann’s economic damages.
 5
              2.     James C. Webber                                        Will Testify
 6                   Jim Webber Training-Consulting-Investigations
                     218 Main Street, PMB 304
 7                   Kirkland, WA 98033
 8
                     (206) 601-9249

 9
              Mr. Webber will be called to testify about his investigation into Ms. Cole’s

10   allegations of hostile work environment, his communications with City employees, officials,

11   and attorneys, and his investigation findings and report.

12   B.       On behalf of defendant City of Edmonds:

13
              1.     Claire Cordon                                          May Testify
14                   200 1st Avenue W., Suite 402
                     Seattle, WA 98119-4923
15
              The City of Edmonds may call Ms. Cordon to testify regarding Human Resources
16
     practices and management, reasonable expectations of a Human Resources Director. Ms.
17
     Humann’s qualifications and performance in the role of Human Resources Director, and
18
     Mayor Cooper’s expectations and evaluation of Plaintiff’s performance in the position.
19
                                        XI.   OTHER WITNESSES
20
              The names and addresses of witnesses, other than experts, to be used by each party at
21

22
     the time of trial and the general nature of the testimony of each are:

23   A.       On behalf of plaintiff:
24
              1.     Nancy Bartley                                May Testify
25                   Seattle Times
                     1000 Denny Way,
26                   Seattle, WA 98109
                     (206) 464-2111
27
              Ms. Bartley is a journalist who may testify about statements made to the media by
28
     City officials and employees.
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       Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 9 of 47




 1
           2.       Debi Humann                                  Will Testify
 2                  c/o Frank Freed Subit & Thomas
                    705 Second Avenue, Suite 1200
 3                  Seattle, WA 98104-1798
                    (206) 682-6711
 4
           Ms. Humann will testify about her employment at the City of Edmonds, the City’s
 5

 6
     Human Resources Department, Ms. Cole’s attendance, her termination, the elimination of

 7
     funding for the Human Resources Director, her reinstatement and layoff, the media

 8   coverage and public attention surrounding these events, and the damages she suffered as a

 9   result of defendants’ conduct. She may also be called to testify about Ms. Cole’s reputation

10   for honesty.
11
           3.       Sharon Cates                                 Possible Witness Only
12                  Lighthouse Law Group
                    1100 Dexter Avenue N., Suite 100
13                  Seattle, WA 98109-3598
                    (206) 273-7440
14
           Ms. Cates may be called to testify about Plaintiff’s job performance, the decision to
15
     terminate Plaintiff’s employment on September 22, 2011, the September 2011 settlement
16

17
     negotiations between Mayor Cooper and Kimberly Cole, and/or Ms. Cates’ knowledge of

18   employment law.

19         4.       Sandy Chase                                  Possible Witness Only
                    531 Homeland Drive
20
                    Edmonds, WA 98020
21
           Ms. Chase may be called to authenticate City records, to testify regarding certain
22
     requests for public records, and Plaintiff’s job performance.
23
           5.       Stephen Clifton                              Will Testify
24
                    18225 – 85th Place West
25                  Edmonds, WA 98026

26
           Mr. Clifton will be called to testify about his knowledge regarding Ms. Cole’s
27
     attendance. He also will be called to testify about Ms. Humann’s job performance and her
28
     role in attempting to prevent misconduct as it relates to Ms. Cole’s attendance and pay. He

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 1   may be called to testify about the reputation of certain members of the City Council and the
 2   former mayor, and about Ms. Cole’s reputation for truthfulness.
 3
            6.     Kimberly Cole                               Possible Witness Only
 4                 820 Fourth Avenue
                   Neptune City, NJ 07753
 5
                   (732) 361-5920
 6          Ms. Cole may be called to testify regarding her working and personal relationship
 7
     with Mr. Cooper, her experience working in Snohomish County, her experience as member
 8
     of the Lynwood City Council, and her employment with the City of Edmonds.                        This
 9
     testimony will be through deposition transcript.
10
            7.     Al Compaan                                  Will Testify
11
                   c/o Jayne L. Freeman
12                 Keating Bucklin & McCormack
                   800 Fifth Avenue, Suite 4141
13                 Seattle, WA 98104-3175
                   (206) 623-8861
14
            Mr. Compaan will be called to testify about Ms. Cole’s attendance, Ms. Humann’s
15
     job performance, termination, the elimination of funding for the City’s Human Resources
16

17
     Director, and Ms. Humann’s reinstatement and layoff. He may also be called to testify about

18   Ms. Cole’s reputation for honesty.

19          8.     Micheal Cooper                              Will Testify
                   c/o John T. Kugler
20
                   Turner Kugler Law
21                 4700 42nd Avenue SW, Suite 5940
                   Seattle, WA 98116
22                 (206) 659-0679
23          Defendant Cooper will be called to testify regarding Kimberley Cole, his decision to
24   terminate Ms. Humann’s employment on September 22, 2011, his public stigmatizing and
25
     defamatory statements about Ms. Humann and her performance as Human Resources
26
     Director, and the elimination of funding for the Human Resources Director position in
27
     November 2011.
28



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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 11 of 47




 1
            9.     Susan Coskey                                  Will Testify
 2                 11811 Willows Road NE
                   Redmond, WA 98052-2003
 3                 (425) 867-4768
 4          Ms. Coskey will be called to testify about the fact and timing of her investigation into
 5   Ms. Humann’s October 12, 2011 whistleblower complaint.
 6
            10.    Courtney Craft                                Possible Witness Only
 7                 3712 East Roosevelt Ave
                   Tacoma, WA 98404
 8
            Ms. Craft may be called to testify regarding the auditor’s hotline complaint and
 9
     investigation regarding Ms. Cole and Ms. Craft’s interactions with City employees.
10

11          11.    Dave Earling                                  Will Testify
                   c/o Jayne L. Freeman
12                 Keating Bucklin & McCormack
13
                   800 Fifth Avenue, Suite 4141
                   Seattle, WA 98104-3175
14                 (206) 623-8861
15          Defendant Earling will be called to testify about the elimination of funding for the
16   Human Resources Director position in November 2011 and the decision to reinstate and
17   layoff Ms. Humann in December 2011.
18

19          12.    Gary Haakenson                                Will Testify
                   Deputy Executive
20                 Snohomish County
                   3000 Rockefeller, M/S 407
21
                   Everett, WA 98201
22                 (425) 388-3460

23          Mr. Haakenson will be called to testify about the City’s Human Resources

24   Department, Ms. Humann’s job performance and reputation. He may also be called to testify

25   concerning the reputation of certain members of the City Council and the former mayor.

26
            13.    Mary Ann Hardie                                         Will Testify
27                 c/o Jayne L. Freeman
                   Keating Bucklin & McCormack
28                 800 Fifth Avenue, Suite 4141
                   Seattle, WA 98104-3175
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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 12 of 47




                   (206) 623-8861
 1
            Ms. Hardie will be called to testify about the City’s Human Resources Department,
 2
     Ms. Humann’s job performance, Ms. Cole’s attendance, timesheets, and job performance,
 3

 4
     and the decisions to terminate Ms. Humann in September 2011, eliminate funding for the

 5   Human Resources Director position in November 2011, and reinstate and layoff Ms. Humann

 6   in December 2011. She may also be called to testify about Ms. Cole’s reputation for

 7   honesty.

 8
            14.    Carrie Hite                                 Will Testify
 9                 c/o Jayne L. Freeman
                   Keating Bucklin & McCormack
10                 800 Fifth Avenue, Suite 4141
                   Seattle, WA 98104-3175
11
                   (206) 623-8861
12
            Ms. Hite will be called to testify concerning her performance of duties formerly
13
     completed by the Human Resource Director, and the structure and function of the Humann
14
     Resources Department after September 22, 2011. She will also be called to testify about Ms.
15
     Humann’s performance, termination, the elimination of funding for the Human Resources
16
     Director position and Ms. Humann’s reinstatement and layoff.
17

18
            15.    Strom Peterson                              Will Testify
                   c/o Jayne L. Freeman
19                 Keating Bucklin & McCormack
                   800 Fifth Avenue, Suite 4141
20                 Seattle, WA 98104-3175
21
                   (206) 623-8861

22
            Mr. Peterson will be called to testify about Ms. Humann’s job performance, Ms.

23   Cole’s attendance, Ms. Humann’s September 22, 2011 termination and October 12, 2011

24   whistleblower complaint, the City Council’s decision to eliminate funding for the Human

25   Resources Director position, and Ms. Humann’s reinstatement and layoff. He will also be

26   called to testify about City Council meetings and his communications with others regarding
27   the 2012 budget and/or Ms. Humann.
28



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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 13 of 47




               16.    Kim Michael Plunkett                        Possible Witness Only
 1
                      2628 – 39th Avenue West
 2                    Seattle, WA 98199

 3             Mr. Plunkett will be called to testify about the City Council’s decision to eliminate

 4   funding for the Human Resources Director position, and Ms. Humann’s reinstatement and

 5   layoff.
 6
               17.    Jeffrey Taraday                             Possible Witness Only
 7                    Lighthouse Law Group
                      1100 Dexter Avenue N., Suite 100
 8                    Seattle, WA 98109-3598
                      (206) 273-7440
 9
               Mr. Taraday may be called to testify about his interactions with Ms. Humann, the
10
     timing of his communications with City officials and employees regarding Ms. Humann,
11

12
     and/or his knowledge of employment law.

13             18.    Jim Tarte, Finance Director                 Possible Witness Only
                      4733 – 48th Avenue NE
14
                      Seattle, WA 98005
15
               Mr. Tarte may be called to testify about Ms. Humann’s job performance, Ms. Cole’s
16
     attendance, timesheets, and pay. He may also be called to testify about the 2012 budget
17
     process and the City Council’s decision to eliminate funding for the Human Resources
18
     Director position.
19
               19.    Bob Uptagraft                               Will Testify
20
                      c/o Frank Freed Subit & Thomas
21                    705 Second Avenue, Suite 1200
                      Seattle, WA 98104-1798
22                    (206) 682-6711
23             Mr. Uptagraft will be called to testify about the emotional distress and reputational
24   harm Ms. Humann suffered as a result of defendants’ conduct.
25

26             20.    James C. Webber                           Will Testify
                      Jim Webber Training-Consulting-Investigations
27                    218 Main Street, PMB 304
                      Kirkland, WA 98033
28
                      (206) 601-9249

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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 14 of 47




 1          Mr. Webber will be called to testify about his investigation into Ms. Cole’s
 2   allegations of hostile work environment, his communications with City employees, officials,
 3   and attorneys, and his investigation findings and report.
 4
            21.     D.J. Wilson                                   Possible Witness Only
 5                  3500 – 188th Street SW, Ste 590
                    Lynnwood, WA 98037
 6
            Mr. Wilson may be called to testify about the decisions to terminate Ms. Humann,
 7
     eliminate funding for the Humann Resources Director position, and reinstate and layoff Ms.
 8

 9
     Humann.

10          22.     Phil Williams                                 Will Testify
                    c/o Jayne L. Freeman
11
                    Keating Bucklin & McCormack
12                  800 Fifth Avenue, Suite 4141
                    Seattle, WA 98104-3175
13                  (206) 623-8861
14           Mr. Williams will be called to testify about Ms. Humann’s job performance and
15   reputation, Ms. Cole’s attendance and job performance, Ms. Humann’s termination, the
16   elimination of funding for the Human Resources Director, and Ms. Humann’s reinstatement
17
     and layoff. He may also be called to testify about Ms. Cole’s reputation for honesty.
18
            23.     Teresa Wippel                                 Possible Witness Only
19                  23800 74th Avenue W
                    Edmonds, WA 98026
20
            Ms. Wippel is a journalist who may testify about statements made to the media by
21

22
     City officials and employees.

23          24.     Pat Ratliff, Editor                           Possible Witness Only
                    Edmonds Beacon
24                  806 5th Street
                    Mukilteo, WA 98275
25

26           Mr. Ratliff is a journalist who may testify about statements made to the media by City
     officials and employees.
27

28
            25.     Oscar Halpert                                 Possible Witness Only
                    The Daily Herald Company

                                                                           FRANK FREED
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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 15 of 47




                    PO Box 930
 1
                    Everett, WA 98206
 2
            Mr. Halpert is a journalist who may testify about statements made to the media by
 3
     City officials and employees.
 4
            26.     Dave Gossett                                 Possible Witness Only
 5
                    5006 239th Pl SW
 6                  Mountlake Terrace, WA 98043

 7
            Mr. Gossett may be called to testify about Ms. Cole’s employment at the Snohomish

 8   County Council, Defendant Cooper’s supervision of Ms. Cole, efforts to investigate and

 9   discipline Ms. Cole for attendance, and Mr. Gossett’s communications with Defendant

10   Cooper regarding these matters.       He may also be called to testify about Ms. Cole’s
11   reputation for honesty.
12
            27.     Don Gough                                    Possible Witness Only
13                  Mayor of Lynwood
                    19100 4th Avenue W.
14                  Lynnwood, WA 98046-5008
15          Mr. Gough may testify about the attendance of Kimberly Cole as an elected City
16   Councilwoman and efforts to investigate and discipline Ms. Cole for attendance. He may
17
     also be called to testify about Ms. Cole’s reputation for honesty.
18
            28.     Loren Simmonds                               Possible Witness Only
19                  Lynnwood City Council President
                    19100 4th Avenue W.,
20
                    Lynnwood, WA 98046-5008
21
            Mr. Simmonds may testify about the attendance of Kimberly Cole as an elected City
22
     Councilwoman and efforts to investigate and discipline Ms. Cole for attendance. He may
23
     also be called to testify about Ms. Cole’s reputation for honesty.
24
            The following additional witnesses may be called to testify for the limited purpose of
25
     authenticating documents in the absence of a stipulation or judicial notice thereto, except
26
     where noted:
27
            29.     Scott Passey                                 Possible Witness Only
28
                    c/o Jayne L. Freeman

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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 16 of 47




                   Keating Bucklin & McCormack
 1
                   800 Fifth Avenue, Suite 4141
 2                 Seattle, WA 98104-3175
                   (206) 623-8861
 3
           Mr. Passey may be called to testify about the authenticity of certain City of Edmonds
 4
     public records.
 5

 6         30.     Records Custodian – Seattle University School of Law              Possible Witness
                   Sheila D. Underwood, Registrar                                    Only
 7                 901 12th Ave.,
                   Sullivan Hall
 8
                   PO Box 22200
 9                 Seattle, WA 98122-1090
                   (206) 398-4150
10
           This individual may be called to testify about the authenticity of certain business
11
     records.
12

13
           31.     Records Custodian – Snohomish County Council            Possible Witness Only
                   Norma Middleton, HR Systems Manager
14                 3000 Rockefeller Avenue
                   Everett, WA 98201
15
                   (425) 388-3411
16         This individual may be called to testify about the authenticity of certain public
17
     records.
18
           32.     Records Custodian – Lynnwood City Council               Possible Witness Only
19                 Debbie Karber, Deputy City Clerk
20
                   191004 4th Avenue W.
                   Lynnwood, WA 98046-5008
21                 (425) 670-5000
22         This individual may be called to testify about the authenticity of certain public

23   records.
24
           33.     Public Records Officer                                  Possible Witness Only
25                 Washington State Auditor’s Office
                   Sunset Building – PO Box 40031
26                 Olympia, WA 98504
27         This individual may be called to testify about the authenticity of certain public
28   records.

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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 17 of 47




            34.    Mia Wadleigh                                            Possible Witness Only
 1
                   Frank Freed Subit & Thomas LLP
 2                 705 2nd Ave, suite 1200
                   Seattle, WA 98144
 3                 (206) 682-6711
 4          Ms. Wadleigh may be called to testify about the authenticity of trial exhibits, and
 5   public records.
 6
            35.    Sheila Romoff                                           Possible Witness Only
 7                 Frank Freed Subit & Thomas LLP
                   705 2nd Ave, suite 1200
 8
                   Seattle, WA 98144
 9                 (206) 682-6711

10          Ms. Romoff may be called to testify about the authenticity of trial exhibits, public

11   records, and/or the deposition of Kimberly Cole.

12   B.     On behalf of defendant City of Edmonds:

13          Defendants anticipate they will or may call the following witnesses at trial; however,
14   the designation of witnesses and scope of testimony may change depending on the court’s
15   ruling on the pending motions for summary judgment.
16
            Will Testify:
17
            1.     Micheal Cooper, former Mayor of Edmonds
18
                   c/o John T. Kugler
19                 Turner Kugler Law, PLLC
                   4700 - 42nd Avenue SW, Suite 540
20                 Seattle, WA 98116
                   (206) 659-0679
21

22
            Mr. Cooper will testify regarding Plaintiff’s employment with Edmonds and City
23
     operations while he served as Mayor, his decision to terminate her employment, observations
24

25
     of, communications with and regarding Plaintiff, post-termination communications and

26   statements, structure and organization of the City of Edmonds government and operations. If

27   necessary, he may also testify regarding the Council’s adoption of the 2012 budget as well.

28          2.     Dave Earling, Mayor of Edmonds
                   c/o Jayne L. Freeman
                                                                          FRANK FREED
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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 18 of 47




                    Keating, Bucklin & McCormack, Inc., P.S.
 1
                    800 Fifth Avenue, Suite 4141
 2                  Seattle, WA 98104
                    (206) 623-8861
 3
            Mayor Earling will testify regarding his decisions related to Plaintiff’s employment
 4
     and communications with Plaintiff after he was elected in 2011, functioning of the Human
 5
     Resources Department and the City during his administration, and regarding the subsequent
 6
     organization, operations, needs, and performance of the Human Resources Department at the
 7
     City. Mayor Earling may also testify regarding the governmental and operational
 8

 9
     organization and structure of the City of Edmonds, budget process, and City operations.

10          3.      Jim Tarte, former Interim Finance Director
                    630 SW 149th Street, Suite B
11
                    Burien, WA 98106
12                  (206) 248-9647

13          Mr. Tarte will testify regarding knowledge of facts related to Plaintiff’s employment,

14   interactions with Plaintiff and Mayor Cooper, the State Auditor’s 2011 audit, information

15   provided to the State Auditor, and the City’s finance and payroll operations.

16
            4.      MaryAnn Hardie, Human Resources Manager
17                  City of Edmonds
                    121 5th Avenue N.
18                  Edmonds, WA 98020
                    (425) 775-2525
19

20
            Ms. Hardie will testify regarding working in the Human Resources Department at
21

22
     Edmonds, work with and/or communications with Plaintiff, Mayor Cooper, and others

23   regarding Plaintiff’s employment, organization, operations and functioning of the Human

24   Resources Department and work completed prior to and subsequent to Ms. Humann’s

25   termination.

26          5.      Carrie Hite Parks, Recreation, Cultural Services Director and HR Reporting
                    Director
27                  c/o Jayne L. Freeman
                    Keating, Bucklin & McCormack, Inc., P.S.
28
                    800 Fifth Avenue, Suite 4141

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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 19 of 47




                       Seattle, WA 98104
 1
                       (206) 623-8861
 2
             Ms. Hardie will testify regarding work and/or communications with Plaintiff, Mayor
 3
     Cooper and others regarding Plaintiff’s employment, organization, budgeting, operations and
 4
     functioning of the Human Resources Department and the City, including work completed
 5
     prior to and subsequent to Ms. Humann’s termination. She also may testify regarding
 6
     information provided to the State Auditor and may have worked with and/or communicated
 7
     with Plaintiff.
 8

 9           6.        Sandy Chase, Former City Clerk
                       c/o Jayne L. Freeman
10                     Keating, Bucklin & McCormack, Inc., P.S.
                       800 Fifth Avenue, Suite 4141
11
                       Seattle, WA 98104
12                     (206) 623-8861

13           Ms. Chase will testify regarding working and/or communicating with Plaintiff, Mayor

14   Cooper, and others at the City of Edmonds, as well as her role and procedures involved in

15   responding to Public Records Requests, and City operations.

16
             7.        Sharon Cates, Lighthouse Law Group, Asst. City Attorney
17                     c/o Jayne L. Freeman
                       Keating, Bucklin & McCormack, Inc., P.S.
18                     800 Fifth Avenue, Suite 4141
                       Seattle, WA 98104
19
                       (206) 623-8861
20
             Ms. Cates will testify regarding communications with Plaintiff and/or observed
21
     conduct by Plaintiff. By identifying Ms. Cates as an individual with knowledge of facts, the
22
     City does not intend to waive any attorney-client, work product, executive session, or other
23
     privileges that may apply.
24
             8.        Jeff Taraday, Lighthouse Law Group, City Attorney
25                     c/o Jayne L. Freeman
26
                       Keating, Bucklin & McCormack, Inc., P.S.
                       800 Fifth Avenue, Suite 4141
27                     Seattle, WA 98104
                       (206) 623-8861
28



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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 20 of 47




 1          Mr. Taraday will testify regarding communications with Plaintiff and/or observed
 2   conduct by Plaintiff. Depending on the issues at trial, Mr. Taraday may be called to testify
 3   regarding non-privileged communications with Mayors and Councilmembers of the City of
 4
     Edmonds. By identifying Mr. Taraday as an individual with knowledge of facts, the City
 5
     does not intent to waive any attorney-client work product, executive session, or other
 6
     privileges that may apply.
 7
            9.      K. Michael Plunkett
 8
                    Former Edmonds Councilmember
 9                  c/o counsel Michael Bolasina
                    Summit Law Group, PLLC
10                  315 5th Avenue S., Suite 1000
                    Seattle, WA 98104
11
                    (206) 676-7000
12
            Mr. Plunkett will testify regarding interactions and communications with and
13
     observations of Plaintiff in her role as Human Resources Director for the City of Edmonds,
14
     City governmental and operational structure, operations, budget, Council and committee
15
     meetings. If necessary, Mr. Plunkett will also testify regarding the City Council’s adoption
16
     of the 2012 budget and related proceedings.
17
            May Testify:
18
            10.     Kimberly Cole, former employee
19
                    Address:
20
            Ms. Cole may testify via video deposition regarding her interactions with and
21
     Plaintiff and Mayor Cooper, complaints about Ms. Humann, and facts related to her own
22

23
     employment with Edmonds.

24
            11.     Diane Buckshnis, Councilmember
25                  c/o Jayne L. Freeman
                    Keating, Bucklin & McCormack, Inc., P.S.
26
                    800 Fifth Avenue, Suite 4141
27                  Seattle, WA 98104
                    (206) 623-8861
28



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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 21 of 47




 1          Ms. Buckshnis may testify regarding plaintiff’s conduct and/or engaging in
 2   communications with or regarding Plaintiff and/or the Human Resources and/or finance staff,
 3   issues, or committees, City of Edmonds governmental and organizational structure, City
 4
     operations, business, and finances.   By identifying this individual as potentially having
 5
     knowledge of information, the City does not intend to waive any privileges that may apply to
 6
     such knowledge, including but not limited to attorney-client or work product privileges or
 7
     Executive Session privileges. If necessary depending on the issues remaining at trial, this
 8
     witness may also testify regarding the City budget, Council meetings, and adoption of the
 9
     2012 budget.
10

11
            12.     Steve Bernheim, Former Councilmember
                    c/o Jayne L. Freeman
12                  Keating, Bucklin & McCormack, Inc., P.S.
                    800 Fifth Avenue, Suite 4141
13
                    Seattle, WA 98104
14                  (206) 623-8861

15
            Mr. Bernheim may testify regarding plaintiff’s conduct and/or communications with

16   or regarding Plaintiff and/or the Human Resources and/or finance staff, issues, or

17   committees, City of Edmonds governmental and organizational structure, City operations,

18   business, and finances. By identifying this individual as potentially having knowledge of
19   information, the City does not intend to waive any privileges that may apply to such
20   knowledge, including but not limited to attorney-client or work product privileges, or
21   Executive Session privileges. If necessary depending on the issues remaining at trial, this
22   witness may also testify regarding the City budget, Council meetings, and adoption of the
23
     2012 budget.
24
            13.     Adrienne Fraley-Monillas, Councilmember
25                  c/o Jayne L. Freeman
                    Keating, Bucklin & McCormack, Inc., P.S.
26
                    800 Fifth Avenue, Suite 4141
27                  Seattle, WA 98104
                    (206) 623-8861
28



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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 22 of 47




 1          This individual may have witnessed plaintiff’s conduct and/or engaged in
 2   communications with or regarding Plaintiff, and/or the Human Resources and/or finance
 3   staff, issues, or committees, City of Edmonds governmental and organizational structure,
 4
     City operations, business, and finances, including labor negotiations. By identifying this
 5
     individual as potentially having knowledge of information, the City does not intend to waive
 6
     any privileges that may apply to such knowledge, including but not limited to attorney-client
 7
     or work product privileges or Executive Session privileges. If necessary depending on the
 8
     issues remaining at trial, this witness may also testify regarding the City budget, Council
 9
     meetings, and adoption of the 2012 budget.
10

11
            14.     Strom Peterson, Councilmember
                    c/o Jayne L. Freeman
12                  Keating, Bucklin & McCormack, Inc., P.S.
                    800 Fifth Avenue, Suite 4141
13
                    Seattle, WA 98104
14                  (206) 623-8861

15
            This individual may have witnessed plaintiff’s conduct and/or engaged in

16   communications with or regarding Plaintiff and/or the Human Resources and/or finance staff,

17   issues, or committees, City of Edmonds governmental and organizational structure, City

18   operations, business, and finances.   By identifying this individual as potentially having
19   knowledge of information, the City does not intend to waive any privileges that may apply to
20   such knowledge, including but not limited to attorney-client or work product privileges or
21   Executive Session privileges. If necessary depending on the issues remaining at trial, this
22   witness may also testify regarding the City budget, Council meetings, and adoption of the
23
     2012 budget.
24
            15.     Lora Petso, Councilmember
25                  c/o Jayne L. Freeman
                    Keating, Bucklin & McCormack, Inc., P.S.
26                  800 Fifth Avenue, Suite 4141
27
                    Seattle, WA 98104
                    (206) 623-8861
28



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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 23 of 47




 1          This individual may have witnessed plaintiff’s conduct and/or engaged in
 2   communications with or regarding Plaintiff and/or the Human Resources and/or finance staff,
 3   issues, or committees, City of Edmonds governmental and organizational structure, City
 4
     operations, business, and finances.     By identifying this individual as potentially having
 5
     knowledge of information, the City does not intend to waive any privileges that may apply to
 6
     such knowledge, including but not limited to attorney-client or work product privileges or
 7
     Executive Session privileges. If necessary depending on the issues remaining at trial, this
 8
     witness may also testify regarding the City budget, Council meetings, and adoption of the
 9
     2012 budget.
10

11
            16.      Courtney Craft, State Auditor’s Office
                     Washington State Auditor’s Office
12                   3501 Colby Ave, Suite 100B
                     Everett, WA 98201
13
                     (425)257-2149
14          Ms. Craft may testify regarding knowledge of the State Auditor’s Office
15
     communications with Edmonds employees and audit activities.
16
            17.      Shawn Hunstock, Finance Director
17                   c/o Jayne L. Freeman
                     Keating, Bucklin & McCormack, Inc., P.S.
18                   800 Fifth Avenue, Suite 4141
19
                     Seattle, WA 98104
                     (206) 623-8861
20
            Mr. Hunstock may be called to testify regarding City of Edmonds organizational
21
     structure, operations, Finance Department, budget, and activities involving the State
22
     Auditor’s Office.
23
     A.     On behalf of defendant Cooper:
24
            1.      Defendant Cooper may call the witnesses identified in Defendant City of
25
     Edmonds and David Earling’s Pretrial Statement, which is incorporated herein by reference.
26
            2.      In addition, this defendant may call:
27

28                  DJ Wilson                                            Possible Witness Only
                    c/o Jayne L. Freeman

                                                                          FRANK FREED
     PRETRIAL ORDER - 23                                               SUBIT & THOMAS LLP
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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 24 of 47




                     Keating, Bucklin & McCormack, Inc., P.S.
 1
                     800 Fifth Ave., Ste. 4141
 2                   Seattle, WA 98104
                     (206) 623-8861
 3
             Mr. Wilson may testify regarding working and communicating with Plaintiff, his
 4
     observations of Plaintiff’s conduct and behavior toward Council Members, and his
 5
     knowledge as set forth in his deposition taken in this matter.
 6
                                        XII.    EXHIBITS
 7
             B. Plaintiff Debi Humann’s Exhibits (#1 – 167)
 8

 9    Exhi    Date        Bates No.      Document           Admi      Auth. Stip. /   Auth./            Admi
      bit                                                   ss.       Admiss.         Admiss.           tted
10    No.                                                   Stip.     disputed        disputed
      1.      (2010-      ED 1041-43 Human            x
11            2011)                  Resources
                                     Analyst Job
12
                                     Description
13    2.      (2011-   ED 1044-1046 Human             x
              2011)                  Resources
14                                   Director Job
                                     Description
15
      3.      1/1/06 & DHRPR-        Debi Humann      x
16            1/1/10   00710;        Human
                       DHRPR-        Resources
17                     00669         Certifications
                                     1/1/2006 &
18
                                     1/1/2010
19    4.      2014     Cordon Ex. 11 HR Certification                                 x
                                     Institute
20                                   Materials
21    5.                             Summary of                                       x
                                     Humann
22                                   Performance
                                     Evaluations
23
                                     (FRE 1006)
24    6.      1999-    See Exhibit 6 Humann                           x
              2010     PDF           Performance
25                                   Evaluations
      7.                             Summary of                                       x
26
                                     Humann Human
27                                   Resources
                                     Training &
28                                   Education (FRE
                                     1006)
                                                                             FRANK FREED
     PRETRIAL ORDER - 24                                                  SUBIT & THOMAS LLP
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                                                                Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 25 of 47




      8.              See Exhibit 8 Humann                    x
 1
                      PDF           Training &
 2                                  Education
                                    Records
 3    9.              DHRPR-        Salary History of x
 4
                      00782;ED      Debi Humann
                      2066
 5    10.   1/1/07    DLH-00735 City of Edmonds               x
                                    Humanitarian
 6
                                    Award
 7    11.   1/11/08   ED 3911       Memorandum re:            x
                                    HR Staffing
 8    12.   3/10/08   DLH-00748- Humann                       x
                      00751         Performance
 9
                                    Appraisal
10    13.   7/9/08    ED 001511     Promotion                 x
                                    Announcement
11    14.   6/15/09   DLH-00747 Humann                        x
12
                                    Performance
                                    Appraisal
13    15.   3/24/10   DLH-00743- Humann                       x
                      00746         Performance
14                                  Appraisal
15    16.             DLH-00710- Humann Letters               x
                      13            of
16                                  Recommendatio
                                    n
17
      17.   4/12/10   DLH-03497- File notations by                             x
18                    03498; 03556 Dave Gossett
      18.   2010-     ED 1047-1049 Executive                  x
19          2011                    Assistant Job
                                    Description
20
      19.   7/3/10    ED 00284-286 Executive          x
21                                  Assistant to the
                                    Mayor
22                                  Employment
23
                                    Announcement
      20.   7/25/10   ED 03895-     Application for           x
24                    03896         Employment by
                                    Kimberly Cole
25
      21.   8/2/10    ED 03891       Receipt of               x
26                                  Personnel
                                    Policies (Cole)
27    22.   8/2/10    ED 03889      Personnel Status x
                                    Report (new hire
28
                                    Kimberly Cole)

                                                                     FRANK FREED
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      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 26 of 47




      23.   8/2/10     ED 03801     Emergency                   x
 1
                                    Personnel File
 2                                  Information
                                    (Cole)
 3    24.   8/13/10    DLH-01323-   Letter to Council   x
 4
                       01324        President
                                    Peterson
 5    25.   8/31/10    ED 03780-    Email from Debi             x
                       03786        Humann
 6
                                    regarding Order
 7                                  for Protection
      26.   9/22/10    ED 001535-   “Lynwood                    x
 8                     1538         official’s work
                                    with city of
 9
                                    Edmonds raises
10                                  questions”,
                                    HeraldNet
11    27.   10/11/10 DLH-01291-     Notes re:                                    x
                     1292           Meeting with
12
                                    Mayor Cooper &
13                                  Council
                                    President Steve
14                                  Bernheim
15
      28.   11/16/10 ED 03545-      Letter to Lorenzo   x
                     03547          Hines re: 2010
16                                  Annual Review
                                    & Audit
17
      29.   12/21/10                Edmonds City                x
18                                  Council
                                    Approved
19                                  Minutes
                                    (excerpts)
20
      30.   2/1/11     ED 001749-   Calendar with                                x
21                     001754       notations
      31.   2/1/11     ED 04293-    Email re: 2011      x
22                     4294         City Council
                                    Retreat - Mayor
23
                                    & Department
24                                  Priorities
      32.   2/3/11     ED 001099-   Notes: Meeting              x
25                     001100       with Mayor
26
                                    Cooper &
                                    Stephen Clifton
27    33.   2/3/11     CPR 000119   Meeting Notice      x
      34.   2011       ED 01455-    Time Records of                              x
28
                       1476         Kimberly Cole

                                                                       FRANK FREED
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     2:13-cv-00101-MJP                                       Suite 1200 Hoge Building, 705 Second Avenue
                                                            Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 27 of 47




      35.   2/4/11     CPR 000078- 2011 City             x
 1
                       000086        Council Retreat
 2                                   Department
                                     Priorities
 3    36.   2/6/11     Plunket Ex. 1 "Report:                    x
 4
                                     Edmonds
                                     council-
 5                                   members'
                                     conduct didn't
 6                                   violate state,
 7
                                     federal laws",
                                     myedmondsnews.
 8                                   com
      37.   2/6/11     DLH 01445, Email re:                                       x
 9
                       DLH-01451 Request for
10                                   Public Records -
                                     Michael Plunkett
11    38.   2/8/11     DHRPR         Email re:           x
                       00410         Vacation Accrual
12
                                     – Cole
13    39.   2/16/11    DLH 011447- Email re: Update      x
                       1449          on M. Plunkett
14                                   Request for
15
                                     Public Records
      40.   2/24/11-   ED 2702-2721 Compensation         x
16          8/4/11                   Consultant
                                     Project Materials
17
      41.   3/1/11     ED 3740-3742 Minutes - Public     x
18                                   Safety & Human
                                     Resources
19                                   Committee
      42.   4/5/11     ED 03743-     Minutes - Public    x
20
                       3747          Safety & Human
21                                   Resources
                                     Committee
22    43.   4/5/11     ED 01193-     Email re: FW:               x
                       01194         Records Request
23
      44.   5/10/11    ED 03748-     Minutes - Public    x
24                     3750          Safety & Human
                                     Resources
25                                   Committee
26
      45.   5/13/11    See Ex. 45    Letter re: Public           x
                       PDF           Record Request
27                                   Dated April 22,
                                     2011
28
      46.              ED 03606-     Edmonds City        x

                                                                        FRANK FREED
     PRETRIAL ORDER - 27                                             SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                        Suite 1200 Hoge Building, 705 Second Avenue
                                                             Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 28 of 47




                      03607          Council
 1
                                     Approved
 2                                   Minutes
                                     (excerpts)
 3                                   6/7/2011
 4
      47.             ED 03658, ED Edmonds City          x
                      03678-03681 Council
 5                                   Approved
                                     Minutes
 6                                   (excerpts)
 7
                                     6/21/2011
      48.             See Exhibit 48 "Challenger                                  x
 8                    PDF            Earling Outpolls
                                     incumbent
 9
                                     Cooper in
10                                   Edmonds
                                     primary for
11                                   Mayor",
                                     myedmondsnews
12
                                     .com
13                                   8/16/2011
      49.             CPR 000113 Email to Kim            x
14                                   Cole (blank)
                                     8/17/2011
15
      50.             CPR 000113 Email re: Payroll       x
16                                   exceptions with
                                     handwritten
17                                   notations
18
                                     8/30/2011
      51.             ED 001591      Payroll accrual     x
19                                   printout
                                     8/31/2011
20
      52.             ED 001594      Email to Cooper     x
21                                   re: Payroll – Kim
                                     Cole
22                                   8/31/2011
      53.             ED 001592      Email re: (blank    x
23
                                     email)
24                                   9/1/2011
      54.                                                x
25

26
      55.   9/7/11    DLH-03034      Email re: FW:   x
                                     Public Records
27                                   Request
      56.   9/8/11    DLH 00434-     Communications x
28
                      00436          with Washington

                                                                       FRANK FREED
     PRETRIAL ORDER - 28                                            SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                        Suite 1200 Hoge Building, 705 Second Avenue
                                                             Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 29 of 47




                                    State Auditor’s
 1
                                    Office
 2    57.   9/9/11    DLH 03025- Email re: (blank      x
                      03026         email)
 3    58.   9/12/11   DLH 00507- Activity History                               x
 4
                      00509         Summary/Detail
                                    Report (Cole)
 5    59.   9/15/11   ED 1615       Cole Payroll       x
                                    Exception Time
 6
                                    Sheet
 7    60.   9/16/11   ED 001105- Documentation                 x
                      001108        of Kim Cole’s
 8                                  Payroll
                                    Exception and
 9
                                    attachments
10    61.   9/21/11   ED 1177-1179 Email string:               x
                                    Update to
11                                  Records Request
                                    (K. Cole)
12
      62.   9/21/11   DLH 00433- Communications        x
13                    00449         with Washington
                                    State Auditor’s
14                                  Office
15    63.   9/21/11   DLH 00435- Email string:         x
                      00436, 00445, RE: Request for
16                    00448-00449 a File –
                                    Documents
17
      64.   9/22/11   Cooper Dep. Cooper email                 x
18                    Ex. 8         with attachment
                                    ("The Bill
19                                  Clinton
                                    Approach")
20
      65.   9/22/11   DLH 00233      Email re:         x
21                                  “Changes in City
                                    Hall”
22    66.   9/22/11   DHRPR         Email re: Firing           X (or
23
                      00778         of Debi Humann             redact)
      67.   9/22/11   CPR000061 “Cooper Fires                  x
24                                  HR Director
                                    Debi Humann,
25
                                    citing ‘lack of
26                                  confidence’ in
                                    her abilities”,
27                                  myedmondsnews.
                                    com
28
      68.   9/22/11   Cooper Ex. 6 Voicemail of                x

                                                                      FRANK FREED
     PRETRIAL ORDER - 29                                           SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                      Suite 1200 Hoge Building, 705 Second Avenue
                                                           Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 30 of 47




                                      Micheal Cooper
 1
      69..   9/22/11- Cates Ex. 2     Cates/Dudkowsk           x
 2           9/23/11                  i email string re:
                                      follow up
 3    70.    9/23/11 ED 02830         Personnel Status x
 4
                                      Report (Humann
                                      termination)
 5    71.    9/24/11 Cooper Ex. 10 “’I Really Want             x
                                      My Job Back’”:
 6
                                      Fired HR
 7                                    Director Taking
                                      Legal Action”,
 8                                    Edmonds.Patch.c
                                      om
 9
      72.    9/25/11 CPR 121          Email re:                x
10                                    Kimberly Cole
      73.    9/25/11 CPR000065 “Edmonds                        x
11                                    Mayor Says He
12
                                      Cooperated With
                                      Audit of City
13                                    Employee,”
                                      Edmonds.Patch.c
14                                    om
15    74.    (9/27/11) See Exhibit 74 “Edmonds                 x
                       PDF            mayor fires City
16                                    human resources
                                      director,”
17
                                      HeraldNet
18    75.    9/28/11 CPR 000062 “Mayor’s                       x
                                      assistant, HR
19                                    director, off
                                      Edmond’s
20
                                      payroll,”
21                                    HeraldNet
      76.    9/29/11 CPR 000066- “Humann firing                x
22                     000067; ED     raises larger
                       00239-241      issues,”
23
                                      Edmondsbeacon.
24                                    com
      77.    9/30/11 Cooper Dep. Cooper Memo to                x
25                     Ex. 9          Council
26

27

28



                                                                      FRANK FREED
     PRETRIAL ORDER - 30                                           SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                      Suite 1200 Hoge Building, 705 Second Avenue
                                                           Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 31 of 47




      78.   10/4/11     ED 002, ED    Edmonds City              x
 1
            10/11/11;   0024, ED      Council
 2          10/18/11;   0027, ED      Executive
            10/25/11;   0046, ED      Session Notes
 3          11/1/11;    0063, ED
            11/7/11;    0090; ED
 4
            12/20/11    0092
 5    79.   10/4/11     ED 03, ED    Edmonds City               x
 6
            10/11/11;   0025, ED     Council Minutes
            10/18/11;   0028; ED     (excerpts)
 7          10/25/11;   0047; ED
            11/1/11;    0067; ED
 8          11/7/11;    0081; ED
 9
            12/20/11    0091; ED0093
      80.                            Summary of                                   x
10
                                     Executive
11                                   Sessions re:
                                     Humann (FRE
12                                   1006)
      81.   10/4/11     DLH 003-     City Council               x
13
                        DLH-009      Resolution No.
14                                   1257 (with
                                     Cooper/Cole
15                                   agreements)
      82.   10/5/11     Cooper Dep. “Two departures             x
16
                        Ex. 11       in city of
17                                   Edmonds
                                     intrigue”, Seattle
18                                   Times
19
      83.   10/11/11    Clifton      Email re:                  x
                        Exhibit 4    Workplace
20                                   Investigation
      84.   10/12/11    ED 120       Humann             x
21
                                     Retaliation
22                                   Complaint
      85.   10/13/11    ED 00119-120 Email re:                  x
23                                   Letter/Complaint
                                     Seeking Relief
24
                                     (Debi Humann)
25                                   (with
                                     attachment)
26    86.   10/13/11    DLH 422      Press Release re: x
                                     Human
27
                                     Retaliation
28                                   Complaint
      87.   10/13/11    DHRPR 0778 Cooper email re: x

                                                                       FRANK FREED
     PRETRIAL ORDER - 31                                            SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                       Suite 1200 Hoge Building, 705 Second Avenue
                                                            Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 32 of 47




                                  changes in city
 1
                                  hall
 2    88.   10/13/11              Edmonds Beacon             x
                                  Newspaper (hard
 3                                copy)
 4
      89.   10/14/11 DLH 00342- "Fired worker                x
                     00343        files protest,"
 5                                The Herald
      90.   10/14/11 ED 205-210 Webber                       x
 6
                                  Professional
 7                                Services
                                  Agreement
 8    91.   10/14/11 ED 195       Cooper email re:           x
                                  Independent
 9
                                  Investigation to
10                                be Conducted
      92.   10/18/11 ED 0028, ED Edmonds City                x
11                   0037-43      Council
                                  Approved
12
                                  Minutes
13                                (excerpts)
      93.   10/21/11 ED 419-429; City of                     x
14          11/11    ED 438-439 Edmonds/Presto
15
                                  n Agreements
      94.   10/20/11              Edmonds Beacon             x
16                                Newspaper (hard
                                  copy)
17
      95.   10/25/11 ED 0047, ED Edmonds City        x
18                   0053-ED 0061 Council
                                  Approved
19                                Minutes
                                  (excerpts)
20
      96.   11/1/11 ED 0089       Edmonds City       x
21                                Council
                                  Approved
22                                Minutes
                                  (excerpts)
23
      97.   11/2/11 ED 1124-28 Susan Coskey                  x
24                   and Coskey   Agreement;
                     Declaration  Susan Coskey
25                                Invoice;
26
                                  BrightSprings/Su
                                  san Coskey
27                                Investigation File
                                  Privilege Log
28
                                  (redacted)

                                                                    FRANK FREED
     PRETRIAL ORDER - 32                                         SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                    Suite 1200 Hoge Building, 705 Second Avenue
                                                         Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 33 of 47




      98.   11/4/11-   ED 4390      Adams               x
 1
            9/9/12                  Consulting
 2                                  Invoices
      99.   11/7/11 ED 00130-       Email re: A few             x
 3                  00132           questions
 4
      100. 11/15/11 DLH 00593 -     Report by State                              x
                    00603           Auditor
 5                                  regarding Citizen
                                    Hotline Concern
 6
      101. 11/15/11 DLH 00083,      Edmonds City                x
 7                  00085-89        Council
                                    Approved
 8                                  Minutes
                                    (excerpts)
 9
      102. 11/18/11 ED 368-372      Email re:                   x
10                                  Requested
                                    Materials
11    103. 11/22/11 ED 2351         Bucklin/Webber              x
                                    emails re:
12
                                    Edmonds adv.
13                                  Cole
                                    Investigation
14    104. 11/22/11 ED 02573-75     Agenda              x
15
                                    Edmonds City
                                    Council
16                                  (11/22/11)
      105. 11/22/11 ED 02035-       Edmonds City        x
17
                    036; ED         Council
18                  2041-049        Approved
                                    Minutes
19                                  (excerpts)
      106. 11/22/11                 Edmonds City                                 x
20
                                    Council Meeting
21                                  Video (excerpts)
      107. 11/29/11 ED 2462; ED     Bucklin/Webber              x
22                  2370;           emails re:
                    ED2352-2369     Confidential --
23
                                    Edmonds-Cole
24                                  Report (draft
                                    report attached)
25    108. 11/30/11 ED 3851         Letter of           x
26
                                    Termination by
                                    David Earling
27                                  (Cole)
      109. 11/30/11 Hite Dep. Ex.   City of Edmonds     x
28
                    6               Press Release

                                                                       FRANK FREED
     PRETRIAL ORDER - 33                                            SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                       Suite 1200 Hoge Building, 705 Second Avenue
                                                            Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 34 of 47




      110. 12/1/11    ED 04400-   Human               x
 1
                      04401       Resources,
 2                                December 2011
                                  Briefing for
 3                                Mayor
 4
      111. 12/5/11 ED 133         Humann Case                 x
                                  Calendar Entry
 5    112. 12/6/11 DLH 00099 - Edmonds City                   x
                     124          Council Meeting
 6
                                  Minutes
 7                                (excerpt)
      113. 12/13/11 Earling Dep. Taraday email                x
 8                   Exhibit 11   (with
                                  attachment)
 9
      114. 12/13/11 ED 00135-136 “Press Release”      x
10                                email
      115. 12/13/11 ED 03441-42 "Mayor to Debi                x
11                                Humann: You
                                  Can Come Back
12
                                  Till End of Year,
13                                Then Leave
                                  Again,"
14                                Edmonds
15
                                  Patch.com
      116. 12/14/11 ED 2828       Personnel Status    x
16                                Report (Humann
                                  reinstatement)
17
      117. 12/14/11 CPR000072 Earling email re:       x
18                                Debi Humann
      118. 12/15/11               Edmonds Beacon              x
19                                Newspaper (hard
                                  copy)
20
      119. 12/15/11- Earling Dep. Emails re:                  x
21         12/16/11 Ex. 12        Requests for
                                  Investigative
22                                Report on Debi
                                  Humann
23
      120. 12/28/11 DLH-362       Freed letter to             x
24                                Earling
      121. 12/28/11 ED 148-149; Email string re:              x
25
                     ED 152-153; Letter from Cliff
26                   Earling      Freed, Attorney
                     Exhibit 14   Representing D.
27                                Humann (with
                                  attachment)
28
      122. 12/28/11 ED 2812       Personnel Status    x

                                                                     FRANK FREED
     PRETRIAL ORDER - 34                                          SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                     Suite 1200 Hoge Building, 705 Second Avenue
                                                          Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 35 of 47




                                    Report (Humann
 1
                                    layoff)
 2    123. 1/3/12     ED 3083-3100 Edmonds/Cole               x
                                    Investigation
 3                                  (Webber)
 4
      124. 1/4/12     Webber Dep. Jim Webber                  x
                      Ex. 3         Invoice
 5    125. 1/12/12    From City of City of Edmonds            x
                      Edmonds       Press Release
 6
                      Website
 7    126. 1/26/12                  Edmonds Beacon            x
                                    Newspaper (hard
 8                                  copy)
      127. 2/21/12    Hite Dep. Ex. Human             x
 9
                      8             Resources
10                                  Temporary
                                    Staffing Proposal
11    128. 4/4/12     DLH 00478     Washington                                 x
12
                                    State Auditor's
                                    Management
13                                  Letter
      129. 4/17/12    DLH 00451     Washington                                 x
14                                  State Auditor's
15                                  Office Public
                                    Records Request
16    130. 5/11/12    DLH-02378- Letter to Kim                                 x
                      02379         Cole (Loren
17
                                    Simmonds)
18    131. 9/24/12    DLH-02409- City of                                       x
                      02411; 2419- Lynnwood City
19                    32            Council Business
                                    Meeting
20
                                    Minutes;
21                                  Memorandum re:
                                    City
22                                  Councilmember
                                    Attendance &
23
                                    Qualification to
24                                  Hold Office in
                                    Re: City
25                                  Councilmember
26
                                    Kimberly Cole,
                                    Position #1
27    132. 9/27/12                  City of Edmonds           x
                                    Reply on its
28
                                    Motion for

                                                                     FRANK FREED
     PRETRIAL ORDER - 35                                          SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                     Suite 1200 Hoge Building, 705 Second Avenue
                                                          Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 36 of 47




                                     Partial Summary
 1
                                     Judgment
 2    133. 1/1/02      ED 00287-     City of Edmonds x
                       00336; DLH Personnel
 3
                       00542-000592 Policies
 4                                   (excerpts)
      134.             Document 58 Edmonds City      x
 5                     Filed Exhibit Code Chapter 2
                       (Taraday      (excerpts)
 6
                       Decl.)
 7    135.                           Diagram: 3rd                              x
                                     Floor Edmonds
 8                                   City Hall
      136    2/14/14                 Patton Report           x
 9

10    137.                       Patton CV        x
      138.                       Humann                      x
11                               Economic
                                 Damages
12
                                 Summary (see
13                               Patton Report pg
                                 5)
14    139.          DLH 00821 - Humann Job        x
15
                    00824        Application Log
      140.          DLH 00796- Humann Job         x
16                  01280        Applications
      141.                       Summary of                                    x
17
                                 Media Reporting
18                               re: Debi Humann
                                 (FRE 1006)
19    142.          Exhibit 142  Collected press             x
                    PDF          articles
20
      143. 10/28/13 Resp to Pltf City of Edmonds             x
21                  2nd discov   Interrogatory
                                 Answer No. 1
22    144. 10/28/13 Resp to Pltf City of Edmonds             x
                     nd
23
                    2 discov     Interrogatory
                                 Answer No. 5
24    145. 10/28/13 Resp to Pltf City of Edmonds             x
                    2nd discov   Interrogatory
25
                                 Answer No. 6
26    146. 10/28/13 Resp to Pltf City of Edmonds             x
                     nd
                    2 discov     Interrogatory
27                               Answer No. 7
      147. 2/7/14   Resp to Pltf City of Edmonds'            x
28
                    4th discov   Interrogatory

                                                                    FRANK FREED
     PRETRIAL ORDER - 36                                         SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                    Suite 1200 Hoge Building, 705 Second Avenue
                                                         Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 37 of 47




                                     Answer No. 10
 1

 2
      148. 4/18/14    Resp to Pltf   City of Edmonds        x
                      5th discov     Interrogatory
 3                                   Answer No. 27
      149. 4/18/14    Resp to Pltf   City of Edmonds        x
 4                    5th discov     Interrogatory
 5                                   Answer No. 36
      150. 4/3/14     DLH-02784-     Declaration of         x
 6                    2785 &         Records
                      Subpoena       Custodian -
 7
                                     Seattle
 8                                   University
                                     School of Law
 9    151. 4/3/14     DLH 02786,     Seattle                x
                      2797-2798      University
10
                                     School of Law
11                                   Records
      152. 4/3/14     DLH-03462-     Declaration of         x
12                    3463; DLH-     Records
13
                      03555 &        Custodian -
                      Subpoena       Snohomish
14                                   County Council;
                                     Subpoena;
15                                   4/16/2014 Letter
16
                                     from Norma
                                     Middleton
17    153. 4/7/14     DLH-03462-     Declaration of         x
                      3463; DLH-     Records
18
                      03555 &        Custodian -
19                    Subpoena       Snohomish
                                     County Council;
20                                   Subpoena;
                                     4/16/2014 Letter
21
                                     from Norma
22                                   Middleton
      154. 4/15/14    DLH-02351-     Declaration of         x
23                    2352 &         Records
                      Subpoena       Custodian - City
24
                                     of Lynnwood &
25                                   Subpoena
      155. 1/1/10 -   DLH-02447-     Council Member                          x
26         9/12/12    2455; 2387-    Attendance
27
                      2399; 2435-    Records
                      2446
28    156. 11/10-     DLH 00510 - Cole Payroll                               x
           9/11       00517       Exception

                                                                   FRANK FREED
     PRETRIAL ORDER - 37                                        SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                   Suite 1200 Hoge Building, 705 Second Avenue
                                                        Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 38 of 47




                                     Timesheets
 1

 2    157.            ED 1611-12     Analysis of Kim                             x
                                     Cole Hours
 3
                                     Undated
 4    158.            ED 1613-14     SAO Cole Leave                              x
                                     Analysis
 5                                   Undated
      159.            Docket #47     Cole Deposition            x
 6
                                     Subpoena
 7                                   Materials
                                     March 2014
 8    159. 4/14/14    PDF Ex. 160    Kim Cole Letter            x
 9
                                     (with
                                     attachments)
10    160. See      Cole
                                                       RO
           Exhibit  Deposition
11                                   March 2014        MO                        x
           160 PDF Subpoena
                                                       FF
12                  Materials
      161. Pages 1- Media                                                         x
                                                       RO
13         208      Coverage (see
                                     9/11-12/2012      MO
                    Exhibit 141
14                                                     FF
                    for Summary)
15    162. Audio    Excerpts                                                      x
           File     Lynnwood
16                  City Council     9/24/12
                    Business
17
                    Meeting
18    163. YouTube YouTube                                                        x
           Screen   Upload of
19         shot     Cooper
                                     11/2/11
20
                    Voicemail
                    (see Ex 68 for
21                  audio)
      164. ED 2558 City of                             x
22
                    Edmond's         1/17/14
23                  Org. Chart
      165. Photo    Photo COE                                                     x
24                  City Hall, 3rd
                    floor: From
25
                    door of copy
26                  room into        9/8/14
                    Office of
27                  Executive
                    Assistant to
28
                    Mayor

                                                                       FRANK FREED
     PRETRIAL ORDER - 38                                            SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                       Suite 1200 Hoge Building, 705 Second Avenue
                                                            Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 39 of 47




      166. Photo    Photo COE                                                     x
 1
                    City Hall, 3rd
 2                  floor: From
                    window of
 3                  copy room      9/8/14
                    into Office of
 4
                    Executive
 5                  Assistant to
                    Mayor
 6    167. DLH-     Lynnwood                                                      x
 7
           02751-55 City Council
                    woman Cole
                                   11/9/11
 8                  talks about
                    Edmonds
 9
                    controversy
10

11           B. Defendant City of Edmonds and/or Earling Proposed Exhibits (##200+)
12

13    Exhi    Date       Bates No.   Document          Admiss.   Auth.        Auth. /Admiss.       Admi
      bit                                              Stip.     Stip. /      Disputed             tted
14    No.                                                        Admiss.
                                                                 Disputed
15    200.                           City of                                  x
                                     Edmonds Org
16                                   Chart
      201.    2004       ED 03898-   HR Dept.                                 x
17
                         03903       Workplan
18    202.    3/22/07    ED 03583-   Humann-                     x
                         03584       Haakenson
19
                                     Email re:
20                                   questions from
                                     Plunkett
21    203.    10/3/07    ED 03904-   DH-Directors                             x
                         03909       memo: future of
22
                                     Edmonds—
23                                   Human
                                     Resources
24    204.    1/9/07     ED 03563    Humann Notes                             x
                                     re mtg w/
25
                                     Haakenson
26    205.    12/12/08               Ordinance No.               x
                                     3718
27                                   establishing NR
28
                                     exempt
                                     employee salary

                                                                        FRANK FREED
     PRETRIAL ORDER - 39                                             SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                       Suite 1200 Hoge Building, 705 Second Avenue
                                                            Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 40 of 47




                                    ranges
 1
      206.   4/13/10   ED 03571-    DH-Haakenson                x
 2           7:30pm    03572        email re:
                                    interim contract
 3                                  for Hines
      207.   4/13/10   ED 03573-    DH-Haakenson                             x
 4
             7:35pm    03574        email re:
 5                                  interim contract
                                    for Hines
 6           7/2/10
      208.             ED 03564     DH-Haakenson                x
 7                                  email re PERS-
                                    Plunkett
 8    209.   7/21/10   ED 04363     DH-Haakenson       x
                                    email re:
 9
                                    Well….
10    210.   9/13/10   DLH 01346    DH-Plunkett                 x
             4:17pm                 email re; L5 at
11                                  Finance
      211.   9/14/10   DLH          Finance                                  x
12
             6pm       01423-       Committee
13                     01429        minutes & NR
                                    pay schedule
14    212.   10/15/10 ED 04315-     DH-Cooper                   x
15                     04318        email re: 2010
                                    Dept. strategic
16                                  priorities
      213.   2010      ED 03915     Notes re: 2011                           x
17
                                    work priorites
18    214.   11/30/10 ED            DH-Haakenson                             x
                       04340-4349   email re: FW:
19                                  Budget
                                    Question
20
      215.   1/19/11   ED 04240-    Clifton-                    x
21                     04241        Directors email
                                    & Cooper
22                                  1/13/11 email
23
                                    re: homework
                                    for council
24                                  retreat
      216.   2/1/11    ED 04304-    Agenda-                     x
25
                       04305        Council Retreat
26    217.   1/24/11   ED 03828-    Cole-Cooper                              x
                       03829        email re: FW:
27                                  Edmonds
                                    Chamber
28
      218.   2/7/11    ED 03826-    Cole-Cooper                              x

                                                                       FRANK FREED
     PRETRIAL ORDER - 40                                            SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                      Suite 1200 Hoge Building, 705 Second Avenue
                                                           Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 41 of 47




                       03827        email re: Staff
 1
                                    Meeting
 2                                  Structure
      219.   4/14/11 DLH 01490      Plunkett-chase          x
 3           11:47am                re PRR of
 4
                                    Plunkett
      220.   4/14/11   DLH 1491-    Petso-Chase re          x
 5           5:02pm    1492         PRR of Plunkett
      221.   4/27/11   ED 03582     Plunkett-               x
 6           2:48pm                 council email
 7                                  re: public
                                    records request
 8    222.   4/14/11 ED 03570       Plunkett-Chase,         x
             11:47am                Cooper/Council
 9
                                    re: public
10                                  records request
                                    Michael
11                                  Plunkett
      223.   4/28/11   DLH 01493    Chase-Plunkett          x
12
                                    ltr re: PRR
13                                  extension
      224.   5/4/11  CPR            Plunkett-               x
14           10:49am 000077         Cooper/Council
15
                                    re: Council
                                    emails
16    225.   5/12/11   ED 03593-    DH-Chase                x
                       03596        email & attach
17
                                    re: 5/10/11
18                                  Human
                                    Resources
19                                  Committee mtg
                                    minutes
20
      226.   5/16/11   ED 03569     Plunkett-Chase,         x
21           6:57pm                 Cooper/Council
                                    Re: Plunkett
22                                  public records
                                    request
23
      227.   6/3/11    Email disk   Edmonds Press                        x
24                                  Release re:
                                    Mayor Cooper
25                                  announces
26
                                    hiring freeze
      228.   6/20/11   ED 001195    Cole-Cooper             x
27           2:54pm                 email re:
                                    renewed
28
                                    protection order

                                                                   FRANK FREED
     PRETRIAL ORDER - 41                                        SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                  Suite 1200 Hoge Building, 705 Second Avenue
                                                       Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 42 of 47




      229.   6/20/11   ED 001196    Cole-Coper                  x
 1
             4:15pm                 email re:
 2                                  repeated &
                                    frequent
 3                                  telephone hang
                                    ups
 4
      230.   6/22/11   ED 04242-    DH-Cooper          x
 5                     04243        email re: FW:
                                    workload
 6           7/25/11
      231.             ED 001197    Cole-Cooper                 x
             5:26pm                 email re:
 7
                                    repeated hang
 8                                  ups
      232.   8/15/11   ED 001459-   Cole “time                               x
 9
                       001464       cards” (feb-aug
10                                  2011)
      233.   8/17/11   Email disk   Cole-Humann                              x
11                                  email out-of-
                                    office reply
12
      234.   9/1/11    ED 04369-    Cole-Cooper                 x
13           4:43pm    04370        email re: FW:
                                    ___ (what was
14                                  sent in response
15
                                    to blank email)
      235.   9/1/11    ED 001542    Cole payroll       x
16                                  exception sheet
                                    8/16-8/31/11-
17
                                    signed by Cole
18                                  9/1/11
      236.   9/7/11  ED 001799                                  x
19           12:14pm
      237.   9/7/11  ED 001157-     Chase-directors             x
20           2:56:11 001158         re: update to
             pm                     Haakenson
21
                                    request
22    238.   9/8/11    ED 001162    Haakenson                   x
                                    request for rep
23
                                    for Haines
24                                  Wharf
                                    “investigation”
25    239.   9/12/11 ED 04371-      Cole-Cooper                 x
             11:49am 04372          email re:
26
                                    records request
27                                  meeting
      240.   9/13/11 ED 04373-      Cole-Cooper                              x
28           11:06am 04374          email re:
                                    immediate
                                                                       FRANK FREED
     PRETRIAL ORDER - 42                                            SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                      Suite 1200 Hoge Building, 705 Second Avenue
                                                           Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 43 of 47




                                     request for
 1
                                     employment
 2                                   documents
      241.   9/15/11    ED 001542    Cole exception                       x
 3                                   report-8/16-
 4
                        ED 001545    8/31/11—
                                     signed by
 5                                   Cooper 9/15/11
                                     w/ post-it &
 6                                   new exception
 7
                                     sheet signed re-
                                     signed 9/15/11
 8    242.   9/19-   ED 02537        Cooper calendar                      x
             9/16/11
 9    243.   9/21/11 ED 001208       Cole-Cooper                          x
             10:52am                 emails re admin
10
             11:01am                 leave
11    244.   9/15/11    ED 004375-   Cole-Cooper                          x
                        004378       Email re:
12
                                     review file
13    245.   9/19/11    DHRPR-       DH-                                  x
                        00262-       Bernheim/Coun
14                      00264        cil re: earnings
                                     exceeding
15
                                     $100,000
16    246.   9/21/11    ED 001492    DH payroll                           x
                                     exception time
17                                   sheet-9/16-
                                     9/30/11—
18
                                     signed 9/21/11
19    247.   9/22/11    ED 001490-   Humann PSR                           x
                        001491       and separation
20                                   payout
      248.   10/13/11 ED 00127       Cooper-Hite                          x
21
             9:42am                  email re: FW:
22                                   changes in City
                                     Hall
23
      249.   10/26/11                Hardie-all city                      x
24
             10:29am                 email re:
                                     position
25                                   analysis
                                     questionnaire
26
      250.   11/22/11 ED 01813-      City of                              x
27                    1819           Edmonds 2012
                      ED 01835-      Budget
28                    01851          (excerpts)
      251.   12/16/11 ED 00150-      Taraday-Earling                      x
                                                                  FRANK FREED
     PRETRIAL ORDER - 43                                       SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                   Suite 1200 Hoge Building, 705 Second Avenue
                                                        Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 44 of 47



             3:56pm     00151        email re: FW:
 1
                                     press release
 2                                   from mayors
                                     office re Debbie
 3                                   Humann (from
                                     Cliff Freed)
 4
      252.   11-7-11    Cooper       Statement from                        x
 5                      Dep., Ex. 14 Mike Cooper
                                     “received by
 6                                   my
 7
                                     edmondsnews”
      253.   12/1/11    DLH 01558 Bernheim-                                x
 8           5:19pm                  Clifton re:
                                     elimination of
 9
                                     HR Dir from
10                                   2012 budget
      254.   12-13-11   ED 00163     Taraday-Freed                         x
11           10:29pm                 re: press release
                                     from mayors
12
                                     office re debi
13                                   humann
      255.   12-22-11   ED 00144-    Romoff-Earling                        x
14           10:17am    00145        email & letter
15
                                     from Freed re:
                                     Debi Humann
16                                   2nd
                                     Whistleblower
17                                   Complaint re:
18
                                     budget decision
      256.   12-28-11   ED 00146-    Romoff-Earling                        x
19           1:05pm     00147        email & letter
                                     from Freed re:
20
                                     Debi Humann
21                                   1st WB
                                     complaint---
22                                   requesting
                                     hearing
23
      257.   Various                 Mary Ann                              x
24
             dates                   Hardie
                                     personnel
25                                   records
                                     (excerpts)
26
      258.   9/22/11    ED 04380     Human                                 x
27                                   Resources
                                     Transition
28                                   Plaint
      259.   9/26/11    ED 03548-    WCIA-Chase re                         x
                                                                   FRANK FREED
     PRETRIAL ORDER - 44                                        SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                    Suite 1200 Hoge Building, 705 Second Avenue
                                                         Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 45 of 47




                      03549       2011 annual
 1
                                  WCIA review
 2                                & audit
      260.   10/25/11 ED 00124    Buckshnis/Wils                       x
 3                                on-Hite re:
 4
                                  compensation
                                  consultant
 5    261.   11/14/11 ED 03553    Adams-WCIA                           x
                                  (cc:
 6
                                  Hite/Hardie) re:
 7                                WCIA HR audit
      262.   12/11    ED          Human                                x
 8                    44004401    Resources, Dec.
                                  2011 Briefing
 9
                                  for Mayor
10    263.   12/13/11 ED 00137-   Hite-                                x
                      00138       press/council/ea
11                                rling re: press
                                  release from
12
                                  mayor’s office
13                                (re:
                                  reinstatement of
14                                DH)
      264.   2012     ED 04384-   Summary &                            x
15
                      04389       recommendatio
16                                ns re: adopting
                                  updated
17                                personnel
18
                                  policies
      265.   2/18/11 Email disk   Cole-Cooper                          x
19           12:14pm              emails re state
             &                    of city address
20           2/28/11
      266.   3/15/113 ED 04329-   Humann-                              x
21           3:34pm 04331         Haakenson fw
22                                PRR emails
                                  from Edmonds
23    267.   3/15/11 ED 4367-     Humann-                              x
             11:00am 4368         Haakenson fw:
24
                                  PRR emails
25                                from Edmonds
      268.   3/8/11   ED 04335    Humann-                              x
26           3:48am               Haakenson re:
27
                                  FYI—you’re
                                  mentioned also
28    269.   9/7/11  ED           Chase-staff fw                       x
             11:07am 001155-ED    Haakenson
                                                               FRANK FREED
     PRETRIAL ORDER - 45                                    SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                Suite 1200 Hoge Building, 705 Second Avenue
                                                     Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 46 of 47




                         001156          original PRR
 1
                                         request
 2     270.    9/15/11                   Cole—Eden                                  x
               11:20am                   screen shot of
 3                                       leave
 4
       271.    11/22/11 Video clips      City Council                               x
                                         Mtg (excerpts)
 5

 6

 7
                                XIII. ACTION BY THE COURT
 8

 9
              A.     This case is scheduled for trial before a jury on October 27, 2014, at 9:00 a.m.

10            B.     Trial briefs shall be submitted to the court on September 10, 2014.
11
              C.     Jury instructions requested by either party shall be submitted to court on or
12
     before September 10, 2014. Suggested questions of either party to be asked of the jury by the
13
     court on voir dire shall be submitted to the court on or before September 10, 2014.
14

15            This order has been approved by the parties as evidence by the signatures of their

16   counsel. This order shall control the subsequent course of the action unless modified by a
17
     subsequent order. This order shall not be modified except by order of the court pursuant to
18
     agreement of the parties or to prevent manifest injustice.
19

20

21                   DATED this ___ day of _____, 2014

22

23

24
                                            _______________________________
25
                                            The Honorable Marsha J. Pechman
26                                          United States District Judge
27
     Form Approved:
28



                                                                            FRANK FREED
     PRETRIAL ORDER - 46                                                 SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                                             Suite 1200 Hoge Building, 705 Second Avenue
                                                                  Seattle, Washington 98104-1798 (206) 682-6711
      Case 2:13-cv-00101-MJP Document 105 Filed 09/10/14 Page 47 of 47




     FRANK FREED SUBIT & THOMAS LLP
 1

 2
      /s/ Beth Bloom
 3   Beth Barrett Bloom, WSBA #31702
     Jillian M. Cutler, WSBA #39305
 4
     Attorneys for Plaintiff
 5

 6   KEATING BUCKLIN & McCORMACK, INC, PS
 7

 8    /s/ Jayne L. Freeman (via email approval)
     Jayne L. Freeman, WSBA # 24318
 9   Attorneys for Defendant City of Edmonds
10

11   TURNER KUGLER LAW, PLLC

12    /s/ John T. Kugler (via email approval)
     John T. Kugler, WSBA # 19960
13
     Attorney for Defendant Micheal Cooper
14

15

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28



                                                            FRANK FREED
     PRETRIAL ORDER - 47                                 SUBIT & THOMAS LLP
     2:13-cv-00101-MJP                             Suite 1200 Hoge Building, 705 Second Avenue
                                                  Seattle, Washington 98104-1798 (206) 682-6711
